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STATE OF MAINE                                              CIVIL ACTION
CUMBERLAND,ss                                               DOCKET NO. CV-18-S



GLENN TUCKER,

       Plaintiff

                                                                   COMPLAINT AND
       v.                                                          DEMAND FOR
                                                                   JURY TRIAL
TOWN OF SCARBOROUGH,


       Defendant




        NOW COMES Plaintiff, Glenn Tucker, by and through counsel, Sarah A. Churchill,

Esq., and complains against Defendant as follows:

                                           PARTIES


        1.     Plaintiff, Glenn Tucker, is a resident of the town of Scarborough, Maine.

       2.      Defendant, Town of Scarborough, is a municipality in the State of Maine and

        located in Cumberland County.

                                        JURISDICTION


        3.     This action arises, in part, under 5 M.R.S.A. §4572 et seq.


        4.     This Honorable Court wields jurisdiction over each Defendant named herein

 pursuant to 14 M.R.S.A. § 704-A in that each Defendant is domiciled in the State of Maine.


        5.     The events listed below occurred in Cumberland County Maine.
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                                     Statement of Facts


   6.    Plaintiff is a police officer with the Scarborough Police Department.

   7.    Plaintiff was hired as a police officer in 1999.

   8.    Plaintiff has always received positive performance reviews while working at the

         Scarborough Police Department.

   9.    Plaintiff has a number of serious medical conditions that have been diagnosed over

         the years he has been employed by Defendant.

   10.   These medical conditions are known to Defendant.

   11.   In November of2016 Plaintiff was diagnosed with a serious medical condition

         involving his liver.

   12.   This diagnosis required Plaintiff to schedule an immediate follow up appointment for

         medical treatment.

   13.   Plaintiff went to Defendant on the date he was diagnosed to request time offto attend

         this medical appointment.

   14.   Plaintiff was given false information about the amount of sick time he had available

         for this appointment.

   15.   Namely,Plaintiff was told by a Sergeant that he had no sick time available.

   16.   Plaintiffthen disclosed additional private details about his medical condition in an

         attempt to get approval which was still denied by the Sergeant.

   17.    Plaintiff was told that if he went to the medical appointment without approval there

         would be consequences for his actions.

   18.    Plaintiff went to Human Resources top lodge a complaint about the situation

         described in paragraphs 13 through 17.
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   19.    Plaintiff was told by the Human resources Department that he had sick leave that

          could be used to cover this medical appointment.

   20.    The Sergeant who,denied Plaintiff's request to use his sick time then required

          Plaintiffto immediately file for Federal Medical Leave Act(hereinafter FMLA)time

          to cover medical appointments.

   21.    No one else at the Scarborough Police Depattment was required to use FMLA leave

          in this manner.

   22.    Defendant's own policies required five consecutive sick days to occur before the

          filing for FMLA leave.

   23.    At this same time there was at least one other police officer working for Defendant

          who was out for an extended period oftime, including a hospital stay, that was not

          required to file for or use FMLA time.

   24.    Plaintiff was granted FMLA leave to use on an intermittent basis at this time.

   25.    Plaintiff was concerned about being forced to use FMLA leave as he had been

          harassed by Defendant for using FMAL leave in the past.

    26.   In January of2017 Plaintiff was diagnosed with a serious heart condition, artery

          blockages, that required immediate surgery.

    27.   This heart condition was made known to Defendant.

    28.   Ongoing harassment from Defendant regarding Plaintiff's medical issues and the

          work as a police officer resulted in Plaintiff being diagnosed with a psychiatric

          condition.

    29.   One example ofthe harassment regarding medical issues occurred in April of2017.
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   30.   In April of2017 Plaintiff requested to use one day ofFMLA leave to cover a medical

         appointment for one ofthe above referenced conditions.

   31.   Plaintiff gave four days' notice for this request which was the same date Plaintiff

         learned of the appointment.

   32.   Plaintiff was berated by a supervising officer for making the request and told that his

         next request would be denied if he did not provide more notice.

   33.   Plaintiff complained to Human resources about this matter.

   34.   Plaintiff was required to spend 1.5 hours of his time arguing with a supervisory

         officer and the Chief ofthe Scarborough Police Department about using FMLA leave

         which he is legally entitled to.

   35.   Human Resources intervention instructed Plaintiff's supervisors that they could not

         deny him use of his leave.

   36.   Plaintiff also learned that a Sergeant had been telling new officers to stay away from

         Plaintiffifthey wanted to advance their careers.

   37.   Plaintiff was denied training opportunities by Defendant who cited the fact that

         Plaintiff had been out on sick leave as the reason for the denial.

   38.   Defendant subjected Plaintiff to yearly employment reviews.

   39.   The employment reviews are used to determine lateral moves and promotions within

         the Scarborough Police Department.

   40.   The yearly evaluations include a deduction in points for the use of sick time which

         creates a disadvantage for someone like Plaintiff who has serious medical conditions.

   41.   In July of 2017 Plaintiff was in a serious automobile accident while on duty as a

         police officer.
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   42.   Plaintiff was rear ended by a drunk driver and suffered a number ofinjuries including

         a concussion.

   43.   This accident occurred approximately one week after Plaintiff returned to work after

         his heart surgery.

   44.   As a result of the motor vehicle crash Plaintiff opened a Workers' Compensation

         Claim which is still pending.

   45.   Plaintiff was forced to use FMLA leave to cover time he was out due to the injuries

         from the automobile accident which were covered by the Workers' Compensation

         case.

   46.   Plaintiff also found out that Defendant has used FMLA leave to cover his heart

         surgery time off which was not something he requested or submitted documentation

         for.

   47.   Additionally, Defendant calculated the amount ofFMLA time in correctly and

         intimated to Plaintiff that his employment status would be reevaluated when his

         FMLA leave ran out which Plaintifftook as a threat that he would be terminated.

   48.   In the fall of2017 Plaintiff was cleared by a medical professional to return to work

         from the injuries related to the automobile accident on a light duty basis.

   49.   Plaintiff disputed this clearance and maintained that his injuries still required active

         treatment and had been incorrectly diagnosed by the medical professional who

         cleared him.

   50.   Additionally, this medical profession required Plaintiff to get a letter of clearance

         from his psychiatrist before returning.
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   51.   Plaintiff did not complain of a psychological injury to the doctor who was making

         this request.

   52.   Defendant claimed t had no light duty work and contacted the medical professional

         who recommended light duty directly.

   53.   This medical professional then changed her recommendation and indicated Plaintiff

         was fit for full duty.

   54.   Plaintiff also determined that this medical professional had provided psychiatric

         history to Defendant not related to the work related injury.

   55.   Once Defendant had this information from the medical profession they began to treat

         Plaintiff even worse.

   56.   Specifically, a Sergeant within the Scarborough Police Depalliwwent told other police

         officers that Plaintiff had a mental health diagnosis, were displaying signs of paranoia

         and should be monitored closely by the other officers.

   57.   This represented an intentional disclosure of confidential medical information that

         was almost entirely untrue and represents an effort to undermine the confidence ofthe

         rank and file officers in Plaintiff.

   58.   Plaintiff never experienced paranoia.

   59.   Plaintiff's mental condition did not affect his ability to do his job in a highly effective

         manner with complete regard for the safety of his fellow officers and the public.


   60.   Plaintiff filed a complaint about this matter with the Maine Human Rights

         Commission and the Equal Opportunity Employment Commission.
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                                                Count 1


                    State Family Medical Leave Act,26 M.R.S.A. §843,et seq.

   61.        Plaintiff realleges and incorporates by reference the allegations set forth in the

              paragraphs above.

   62.        Defendant is an employer subject to the Family Medical Leave Act and Plaintiff was

              at all times an eligible employee.

   63.        Plaintiff was granted medical leave by Defendant due to his serious health condition.

   64.        By harassing Plaintiff during his medical leave, requiring him to use his leave, and

              applying his leave time incorrectly Defendant violated the Maine Family Medical

              Leave Act.

   65.        In addition, Defendant used the fact that Plaintiff availed himself oflegally protected

              leave to give him lower scores of yearly evaluations.

         WHEREFORE,Plaintiffrespectfully prays that this Honorable Court grant judgment in

favor ofPlaintiff and against Defendant, and award Plaintiff the following relief:


         a.      Declare Defendant's actions unlawful;


         b.      Award Plaintiff damages;


         c.      Award Plaintiff reasonable attorney's fees, costs, and interest;


         d.      Order Defendant to reinstate Plaintiff or, in lieu, ofreinstatement order back and

front pay;


         e.      Award all allowable penalties, nominal and statutory damages; and


         f.      Such further relief as the Court deems proper and just.
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                                                Count 2


                    Federal Family Medical Leave Act,29 U.S.0 §2611,et seq.


   66.        Plaintiffrealleges and incorporates by reference the allegations set forth in the

              paragraphs above.

   67.        At all times material to this complaint Plaintiff was and "eligible employee" as

              defined by 29 U.S.C. §2611(2)(A), and Defendant was an "employer" under the

              Federal Family Medical Leave Act.

   68.        Plaintiff was forced to apply for and was granted medical leave due to his serious

              health condition.

   69.        By committing the acts described above, including applying Plaintiffs leave time,

              arguing with him about his ability to use his FMLA time, Defendant unlawfully

              interfered with Plaintiff's rights in violation of29 U.S.C. §2615, et al.

         WHEREFORE,Plaintiff respectfully prays that this Honorable Court grant judgment in

favor ofPlaintiff and against Defendant, and award Plaintiff the following relief:


         a.      Declare Defendant's actions unlawful;


         b.       Award Plaintiff damages;


         c.       Award Plaintiff reasonable attorney's fees, costs, and interest;


         d.      Order Defendant to reinstate Plaintiff or, in lieu, ofreinstatement order back and

front pay;


         e.      Award all allowable penalties, nominal and statutory damages; and


         f.      Such further relief as the Court deems proper and just.
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                                           Count 3


                   Maine Human Rights Act: Disability Discrimination


   70.   Plaintiffrealleges and incorporates by reference the allegations set forth in the

         paragraphs above.

   71.   Plaintiff was a member of a protected class in that he had a disability.

   72.   Plaintiff suffered from serious medical conditions including but not limited to a heart

         conditions, a liver disorder, concussion and a mental health disorder.

   73.   Defendant was on notice about Plaintiff's disability.

   74.   Plaintiff was able to perform the essential functions of his position.

   75.   Plaintiff made clear to Defendant that he required reasonable accommodations in his

         job for his disability.

   76.   Defendant refused to give Plaintiff a reasonable accommodation.

   77.   Defendant created a hostile work environment for Plaintiff relating to his disability by

         giving Plaintiff a hard time about taking legally protected time off for medical

         treatment, forcing him back to work before he was medical cleared, and treating him

         in a negative and disrespectful manner.

   78.   Plaintiff's disability was the motivating factor behind his negative treatment.

   79.   As a result ofthe discriminatory treatment, Plaintiff suffered damages.

   80.   Defendant acted with malice and reckless indifference to Plaintiff's protected civil

         rights. Defendant was motivated by discriminatory intent.

   81.   Defendant discriminated against plaintiffin violation ofthe Maine Human Rights

         Act, 5 M.R.S.A. § 4572.
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    82.        Plaintiff has fully complied with the procedural requirements of5 M.R.S.A.

               §4622(1)(A).

          WHEREFORE,Plaintiffrespectfully prays that this Honorable Court grant judgment in

 favor ofPlaintiff and against Defendant, and award Plaintiff the following relief:


          a.      Declare Defendant's actions unlawful;


          b.      Award Plaintiff damages;


          c.      Award Plaintiff reasonable attorney's fees, costs, and interest;


          d.      Order Defendant to reinstate Plaintiff or, in lieu, ofreinstatement order back and

 front pay;


          e.      Award all allowable penalties, nominal and statutory damages; and


          f.      Such further relief as the Court deems proper and just.


                                                 Count 4


                              Disability Discrimination - 42 U.S.C. §12112


    83.        Plaintiff herein repeats, realleges and incorporates each and every allegation and

               averment contained in foregoing paragraphs as if fully set forth herein.

    84.        The Americans with Disabilities Act("ADA")prohibits discrimination on the basis

               of a disability in regard to hiring, advancement, termination and the general

               conditions and privileges of employment.

    85.        Plaintiff is a person with a disability within the meaning of ADA due to serious

               medical conditions including but not limited to a heart conditions, a liver disorder,
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              concussion and a mental health disorder, which affected one or more of her major life

              activities

   86.        Defendant is an employer subjected to the ADA.

   87.        Defendant was on notice about Plaintiff's disability.

   88.        Defendant did not accommodate Plaintiff's disability.

   89.        Defendant created a hostile work environment ffor Plaintiff relating to his disability

              by giving Plaintiff a hard time about taking legally protected time offfor medical

              treatment, forcing him back to work before he was medical cleared, and treating him

              in a negative and disrespectful manner.

   90.        Defendant treated Plaintiff differently in the termination from and terms and

              conditions of his employment on the basis of his disability.

   91.        As a result of Defendant's violation ofthe ADA,Plaintiff suffered injury and

              damages and is entitled to relief.

         WHEREFORE,Plaintiff respectfully prays that this Honorable Court grantjudgment in

favor of Plaintiff and against Defendant, and award Plaintiff the following relief:


         a.       Declare Defendant's actions unlawful;


         b.       Award Plaintiff damages;


         c.       Award Plaintiff reasonable attorney's fees, costs, and interest;


         d.       Order Defendant to reinstate Plaintiff or, in lieu, ofreinstatement order back and

front pay;


         e.       Award all allowable penalties, nominal and statutory damages; and


         f.       Such further relief as the Court deems proper and just.
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                                        JURY REQUEST


       Plaintiff hereby requests a jury trial.


 Dated at Portland, Maine this 28th day of November,2018.


                                                  By: Nich ls & Churchill,PA



                                                  Sarah A. Churchill, Esq.
                                                  Maine Bar No. 9320
                                                  Attorney for Plaintiff

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